                                     Case 2:20-cv-00464-SAB       ECF No. 1   filed 12/16/20   PageID.1 Page 1 of 19



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                                11
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                                12
                                13                          UNITED STATES DISTRICT COURT
                                14                       EASTERN DISTRICT OF WASHINGTON
                                15      JUN DAM, individually and on               Case No.
                                        behalf of all others similarly situated,   CLASS ACTION
                                16
                                17                   Plaintiff,                    CLASS ACTION COMPLAINT
                                18            v.
                                                                                   District Judge
                                19      PERKINS COIE, LLP, a Washington            Courtroom
                                        limited liability partnership;             Magistrate Judge
                                20                                                 Courtroom
                                        PERKINS COIE I, P.C., a
                                21      Washington corporation registered in       Complaint Filed:
                                        California; PERKINS COIE                   Trial Date:
                                22
                                        CALIFORNIA, P.C., a California             JURY TRIAL DEMANDED
                                23      corporation; PERKINS COIE
                                24      CALIFORNIA II, P.C., a California
                                        corporation; and LOWELL NESS,
                                25      individually
                                26                   Defendants.
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 00141250

                                        CLASS ACTION COMPLAINT
                                     Case 2:20-cv-00464-SAB      ECF No. 1   filed 12/16/20   PageID.2 Page 2 of 19



                                1             Plaintiff JUN DAM (“Plaintiff”) brings this action on behalf of himself, all
                                2      others similarly situated and the general public against defendants PERKINS
                                3      COIE, LLP; PERKINS COIE I, P.C.; PERKINS COIE CALIFORNIA, P.C.,
                                4      PERKINS COIE CALIFORNIA II, P.C. (collectively “Perkins”); and LOWELL
                                5      NESS (“Ness”). Plaintiff alleges on information and belief, except for information
                                6      based on personal knowledge, as follows:
                                7                                   NATURE OF THE CASE
                                8             1.     This class action seeks monetary relief to remedy Defendants’
                                9      misappropriation of money that they agreed to hold in escrow and distribute in
                                10     accordance with solicitation documents for an initial token offering in the
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                                11     cryptocurrency market.
                                12                               JURISDICTION AND VENUE
                                13            2.      This Court has original jurisdiction pursuant to 28 U.S.C. §
                                14     1332(d)(2). The matter in controversy, exclusive of interest and costs, exceeds the
                                15     sum or value of $5,000,000 and is a class action in which there exceed 100 class
                                16     members, and many members of the class are citizens of a state different from
                                17     defendants.
                                18            3.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a) and (b)
                                19     and 18 U.S.C. § 1965: The money that is the subject of this action was held and
                                20     controlled by Defendant Perkins Coie, LLP and related to a project located
                                21     exclusively in this District; Defendant Perkins Coie, LLP is authorized to, and
                                22     regularly does, conduct business in this District, and Defendants have intentionally
                                23     availed themselves of the laws and markets within this District, caused a
                                24     substantial part of the harm within this District, and are subject to personal
                                25     jurisdiction in this District.
                                26            4.     This Court has personal jurisdiction over Defendants because all
                                27     Defendants are amenable to service of process for actions commenced in this
                                28     District, have sufficient minimum contacts within this District, and have
 00141250
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                                        CLASS ACTION COMPLAINT
                                     Case 2:20-cv-00464-SAB     ECF No. 1    filed 12/16/20   PageID.3 Page 3 of 19



                                1      purposefully availed themselves of the privilege of conducting business in the
                                2      State of Washington and, therefore, the Court’s exercise of jurisdiction is
                                3      permissible under traditional notions of fair play and substantial justice. This Court
                                4      also has personal jurisdiction over all Defendants pursuant to Federal Rule of Civil
                                5      Procedure 4(k)(1)(A) because they would be subject to the jurisdiction of a court
                                6      of general jurisdiction in Washington. Defendant Perkins Coie, LLP also has its
                                7      headquarters in the State of Washington.
                                8                                           PARTIES
                                9            5.     Plaintiff Jun Dam resides in and is a citizen of California. In 2017,
                                10     Plaintiff pre-purchased “Tokens” through an “ITO” and in the “Secondary
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                                11     Market” (as hereafter described and defined). As a result of Defendants’ breaches
                                12     of fiduciary duty in wrongfully distributing ITO funds, breach of contract, and the
                                13     unfair or deceptive acts alleged herein, Plaintiff and the other members of the
                                14     “Class” (as hereafter defined) suffered injury in fact and lost money or property.
                                15           6.     Defendant Perkins Coie, LLP is a Washington professional limited
                                16     liability partnership and headquartered in Seattle, Washington. It regularly
                                17     conducts business in this District. Perkins Coie, LLP is one of the largest law firms
                                18     in the United States.
                                19           7.     Defendant Perkins Coie I, P.C. is a Washington corporation and
                                20     regularly conducts business in this District.
                                21           8.     Perkins Coie California, P.C. is a California professional corporation
                                22     and is registered as a foreign corporation authorized to transact business in
                                23     Washington. Perkins Coie California, P.C. is a subsidiary or affiliate of Perkins
                                24     Coie, LLP
                                25           9.     Defendant Perkins Coie California II, P.C. is a California corporation
                                26     and a subsidiary or affiliate of Perkins Coie, LLP.
                                27           10.    Defendant Lowell Ness resides in and is a citizen of California and is
                                28     identified by Perkins Coie, LLP as a Perkins Coie, LLP partner. According to
 00141250
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                                        CLASS ACTION COMPLAINT
                                     Case 2:20-cv-00464-SAB     ECF No. 1    filed 12/16/20   PageID.4 Page 4 of 19



                                1      Perkins’ Coie, LLP’s ’s webpage Ness is a “partner in [Perkins Coie, LLP]’s
                                2      Corporate practice” and is a “core member of the Blockchain Technology and
                                3      Digital Currency industry group where he focuses part of his practice on assisting
                                4      Blockchain, Bitcoin and other cryptocurrency clients raise money.” He is also
                                5      identified as a Perkins Coie, LLP attorney on the California State Bar
                                6      Association’s website.
                                7                                FACTUAL ALLEGATIONS
                                8             11.    Cryptocurrencies are digital currencies that have a recognized value.
                                9      There are a finite number of cryptocurrency units that are generated through
                                10     encryption techniques.
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                                11            12.    In addition, there is a recognized and accepted process by which
                                12     cryptocurrency-based transactions are recorded, verified, and approved based and
                                13     the transferors and transferees use pseudonyms when conducting and receiving the
                                14     transfers .
                                15            13.    Because there is a finite number of units that have a recognized value
                                16     and a verified recording of transactions, cryptocurrency is a widely recognized and
                                17     accepted medium of exchange to acquire or transfer value between persons, firms,
                                18     and entities. Examples include Bitcoin, Litecoin, Dash, and Ethereum. Unlike fiat
                                19     currency (such as U.S. dollars, Yen, or Euros), cryptocurrencies are not issued or
                                20     backed by a government. Instead, they are released into circulation through a
                                21     digital, decentralized process called “mining.”
                                22            14.    Mining is a process by which a person, firm, or entity can acquire new
                                23     cryptocurrency units and increase the value of cryptocurrency that they and other
                                24     miners have previously acquired. Cryptocurrency miners must expend money and
                                25     resources to purchase or use computerized mining equipment and acquire
                                26     sufficient power to run the equipment.        Cryptocurrency miners’ power and
                                27     equipment is then used to perform millions of simple but time and energy-
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                                        CLASS ACTION COMPLAINT
                                     Case 2:20-cv-00464-SAB     ECF No. 1    filed 12/16/20   PageID.5 Page 5 of 19



                                1      consuming computations to validate previous cryptocurrency transactions. In
                                2      return the miners earn units and other value for their efforts.
                                3            15.    Continued cryptocurrency mining also increases the value of the
                                4      cryptocurrency. As the total number of remaining non-circulating units decreases,
                                5      the number of units a miner receives for the time and money it expends in mining
                                6      cryptocurrency also decreases. In addition, as more miners begin to mine, the
                                7      number of transactions a miner must validate also increases. This means each
                                8      miner must expend more time and money to earn a cryptocurrency unit or other
                                9      value. This, in turn, increases the value of each cryptocurrency unit a miner may
                                10     have previously acquired or acquires through current or future mining. Because
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                                11     continuing and increased mining increases the value of cryptocurrency units, it
                                12     provides an incentive for miners to continue mining.
                                13           16.    Cryptocurrency     mining     has    become     a    multi-billion-dollar
                                14     technology-based industry and has created a demand for cryptocurrency
                                15     infrastructure and power to enable mining operations.
                                16           17.    To profit off the cryptocurrency mining demand for infrastructure and
                                17     power, a Singaporean business entity, GigaWatt Pte., Ltd. (“GW Singapore), and
                                18     its affiliate Giga Watt, Inc., a Washington corporation headquartered in
                                19     Wenatchee, Washington (GW Washington) (hereafter GW Washington and GW
                                20     Singapore will collectively be referred to as the “GW Entities”), proposed to create
                                21     a cryptocurrency mining facility in this District (the “Giga Watt Project”).
                                22           18.    To finance and create the Giga Watt Project, the GW Entities solicited
                                23     investors, including cryptocurrency miners, to prepurchase a “Token” that
                                24     represented the right to access and use 1 watt of power and related infrastructure
                                25     to conduct cryptocurrency mining operations in the Giga Watt Project that the GW
                                26     Entities proposed to create and make operational.
                                27           19.    The GW Entities’ promotional materials and solicitations included
                                28     circulating and disseminating a document to all prospective Token investors that
 00141250
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                                        CLASS ACTION COMPLAINT
                                     Case 2:20-cv-00464-SAB    ECF No. 1   filed 12/16/20   PageID.6 Page 6 of 19



                                1      is commonly called a “White Paper.” The White Paper, which is attached hereto
                                2      as Exhibit A, described the terms and conditions of the GW Entities’ Initial Token
                                3      Offering (“ITO”).
                                4            20.   The White Paper specifically stated that the money each person paid
                                5      to prepurchase a Token or Tokens (“Token Holders”) would “be deposited in
                                6      escrow” and would only “be released from escrow in step with completion of the
                                7      facilities.” Exhibit A at 18. Specifically, the escrow agent would only disburse
                                8      Token investment proceeds (i.e., the Token Holders’ money) in the same
                                9      proportion as the Giga Watt Project had been completed. In other words, if only
                                10     50% of the Giga Watt Project was completed, then the escrow agent was only
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                                11     permitted to disburse 50% of the Token investment proceeds to the GW Entities.
                                12           21.   One or more of the GW Entities contracted with one or more of the
                                13     Perkins Defendants, through Ness, and one or more of the Perkins Defendants
                                14     agreed to act as the escrow agent for the Token Holders and the GW Entities.
                                15           22.   Certain officers, directors, managing agents, or shareholders of the
                                16     GW Entities founded another Singaporean company, Cryptonomos Pte. Ltd.
                                17     (“Cryptonomos”). The officers, directors, managing agents, or shareholders of the
                                18     two GW Entities are also common to one another. In March 2017, Cryptonomos
                                19     retained one or more of the Perkins Defendants and Ness to be its attorneys. In
                                20     May 2017, just days before the launch of the ITO, GW Singapore retained one or
                                21     more of the Perkins Defendants and Lowell to be its attorneys. Cryptonomos
                                22     worked extensively on the Giga Watt Project, structured the Giga Watt Project’s
                                23     ITO, ran the marketing campaign for the entire Giga Watt Project, managed the
                                24     online platform exclusively used for Token Holders to prepurchase Tokens offered
                                25     in the ITO, and was authorized to collect the Token investment proceeds for GW
                                26     Singapore. One or more of the Perkins Defendants and Ness represented
                                27     Cryptonomos with respect to the Giga Watt Project and the ITO.
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                                        CLASS ACTION COMPLAINT
                                     Case 2:20-cv-00464-SAB     ECF No. 1       filed 12/16/20   PageID.7 Page 7 of 19



                                1            23.    The Giga Watt Project touted Perkins Coie, LLP’s involvement as an
                                2      advisor and escrow agent for the ITO investment proceeds. Ness’ photograph was
                                3      on Cryptonomos’ website. Indeed, Cryptonomos carried Perkins Coie, LLP’s
                                4      name, and logo as well as Ness’ photograph on its website with the caption, “Legal
                                5      Consulting and Escrow. Internationally acclaimed law firm with vast experience
                                6      in the field of blockchain and cryptocurrencies.” The website states under Ness’
                                7      photograph and next to the picture of a safe:
                                8            All funds raised through the WTT Token Launch are put in fiat
                                             escrow (funds received in cryptocurrencies are first converted into
                                9
                                             USD). Funds are released from escrow in batches only after the
                                10           underlying capacities are built and relevant tokens are issued and
                                             distributed.
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                                11
                                12           24.    Plaintiff and other members of the Class pre-purchased Tokens
                                13     through the ITO and they accepted the escrow terms and conditions offered in the
                                14     White Paper.
                                15           25.    Tokens were transferrable, and some Token Holders began to sell
                                16     their Tokens to others after they pre-purchased Tokens through the ITO.
                                17     (“Secondary Market”). Each Token that was purchased on the Secondary Market
                                18     represented the value attributable to being able to access and use the infrastructure
                                19     and 1 watt of power when the Giga Watt Project was completed, and the portion
                                20     of the Token investment proceeds that were to have been held in escrow by one or
                                21     more of the Perkins Defendants and Ness for the uncompleted portion of the Giga
                                22     Watt Project.
                                23           26.    Plaintiff and other members of the Class either pre-purchased Tokens
                                24     through the ITO or purchased Tokens from Token Holders in the Secondary
                                25     Market, or both.
                                26           27.    The GW Entities never completed the entire Giga Watt Project and
                                27     Giga Watt Washington filed for United States Bankruptcy protection and a trustee
                                28     was appointed to liquidate its assets.
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                                        CLASS ACTION COMPLAINT
                                     Case 2:20-cv-00464-SAB      ECF No. 1    filed 12/16/20   PageID.8 Page 8 of 19



                                1            28.      As of August 4, 2017, four days after the ITO closed, one or more of
                                2      the Perkins Defendants held $22,351,957.58 in Token investment proceeds,
                                3      representing 20,154,783 Tokens presold to the public, for the benefit of the Token
                                4      Holders and the GW Entities related to the Giga Watt Project. After making
                                5      certain refunds to various Token Holders, one or more of the Perkins Defendants
                                6      eventually distributed all the Token investment proceeds to one or more of the GW
                                7      Entities even though the Giga Watt Project had not been completed. Specifically,
                                8      one or more of the Perkins Defendants distributed four payments to GW Singapore
                                9      totaling $10.8 million and four payments to GW Washington totaling
                                10     $10,865,757.31.
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                                11           29.      As of approximately January 2018, the Giga Watt Project was
                                12     approximately 50% complete. The GW Entities then stopped constructing the
                                13     Giga Watt Project and no higher percentage of completion was ever obtained.
                                14           30.      Plaintiff and the other Token Holders never discovered and could not
                                15     have reasonable discovered that Perkins and Ness improperly distributed the
                                16     Token investment proceeds until much later than February 2018, if at all.
                                17                             CLASS ACTION ALLEGATIONS
                                18           31.      Plaintiff brings this case as a class action pursuant to Rules 23(b)(2),
                                19     (b)(3), and (c)(4) of the Federal Rules of Civil Procedure. The proposed Class
                                20     consists of:
                                21           All persons who hold Tokens that were purchased as of the date this
                                22           complaint was filed.
                                23           32.      The Class excludes any one or more of the GW Entities’ officers and
                                24     directors, current or former employees, as well as any judge, justice or judicial
                                25     officer presiding over this matter and members of their immediate families and
                                26     judicial staff. The Class also excludes any persons who received a full refund of
                                27     their Token investment.
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 00141250
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                                        CLASS ACTION COMPLAINT
                                     Case 2:20-cv-00464-SAB     ECF No. 1      filed 12/16/20   PageID.9 Page 9 of 19



                                1            33.    Numerosity. The members of the Class are so numerous that their
                                2      individual joinder is impracticable. Plaintiff is informed and believes, and on that
                                3      basis alleges, that the proposed Class contains hundreds of members from across
                                4      the country and in foreign states.
                                5            34.    Existence and Predominance of Common Questions of Law and
                                6      Fact. Common questions of law and fact exist as to all Class Members and
                                7      predominate over any questions affecting only individual Class members. All
                                8      Class Members have been subject to the same conduct and their claims arise
                                9      from the same legal claims. The common legal and factual questions include, but
                                10     are not limited to, the following:
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                                11                  (a)    whether one or more Defendants breached their fiduciary duty.
                                12                  (b)    whether one or more of the Perkins Defendants entered into
                                13                         and then breached an expressed or implied agreement with the
                                14                         Class to hold and distribute the Token investment proceeds in
                                15                         accordance with the White Paper’s terms and conditions.
                                16                  (c)    whether the Class are third party beneficiaries of one or more
                                17                         agreements between one or more of the “Perkins’ Agreements
                                18                         with the GW Entities and Cryptonomos” (as hereafter defined)
                                19                         regarding holding the Token investment proceeds in escrow
                                20                         and distributing the Token investment proceeds strictly in
                                21                         accordance with the White Paper’s terms and conditions.
                                22                  (d)    whether one or more of the Perkins Defendants breached the
                                23                         Perkins Agreements with the GW Entities and Cryptonomos.
                                24                  (e)    whether one or more of the Defendants are liable for violating
                                25                         the Washington Consumer Protection Act.
                                26                  (f)    whether Defendants are liable for engaging in prohibited
                                27                         practices contained in the Washington’s Escrow Agent
                                28                         Registration Act.
 00141250
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                                        CLASS ACTION COMPLAINT
                                 Case 2:20-cv-00464-SAB      ECF No. 1     filed 12/16/20   PageID.10 Page 10 of 19



                                1                 (g)   whether Plaintiff and the other members of the Class are
                                2                       entitled to monetary relief, and the proper measure of that
                                3                       monetary relief.
                                4          35.    Typicality. Plaintiff’s claims are typical of the claims of the other
                                5    members of the Class in that Plaintiff is a member of the Class that he seeks to
                                6    represent in both the capacity as a person who pre-purchased Tokens offered in
                                7    the ITO and as a person who bought Tokens on the Secondary Market.
                                8          36.    Adequacy of Representation. Plaintiff will fairly and adequately
                                9    protect the interests of the o t h e r m e m b e r s o f t h e Class. Plaintiff has
                                10   retained counsel experienced in the prosecution of this type of class action
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                                11   litigation. Plaintiff has no adverse or antagonistic interests to those of the other
                                12   members of the Class.
                                13         37.    Superiority. A class action is superior to all other available means for
                                14   the fair and efficient adjudication of this controversy. Individualized litigation
                                15   would increase the amount of litigation and create the danger of inconsistent or
                                16   contradictory judgments arising from the same set of facts. Individualized
                                17   litigation would also increase the delay and expense to all parties and the court
                                18   system from the issues raised by this action. The burden and expense that would
                                19   be entailed by individual litigation makes it impracticable or impossible for Class
                                20   members to prosecute their claims individually. Further, the adjudication of this
                                21   action presents no unusual management difficulties.
                                22         38.    Unless a class is certified, Defendants may not fully compensate all
                                23   the injured parties for the damages they suffered because one or more of the
                                24   Defendants’ failed to disburse the Token investment proceeds they were holding
                                25   in escrow in accordance with the White Paper’s terms.
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                                      CLASS ACTION COMPLAINT
                                 Case 2:20-cv-00464-SAB     ECF No. 1   filed 12/16/20   PageID.11 Page 11 of 19



                                1                                        COUNT I
                                2                               Breach of Fiduciary Duty
                                3                               (Against All Defendants)
                                4          39.   Plaintiff realleges the allegations in Paragraphs 1-38 of this
                                5    Complaint as though fully set forth herein.
                                6          40.   Perkins and Ness allowed the GW Entities, and their affiliate and
                                7    agent Cryptonomos (that always acted within the scope of its actual or apparent
                                8    authority) to use Perkins Coie, LLP’s and Ness’ names and images as well as the
                                9    Perkins Coie, LLP logo in the White Paper, the Cryptonomos web site for the ITO,
                                10   and other solicitation materials that GW Singapore used to solicit Token presales
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                                11   offered through the ITO.
                                12         41.   Both prior to and after the GW Entities disseminated and circulated
                                13   the White Paper, Perkins and Ness were aware that the GW Entities were going to
                                14   use their names and images and the Perkins Coie, LLP logo when soliciting Token
                                15   presales through the ITO. They also understood that one or more of the Perkins
                                16   Defendants would be receiving Token investment proceeds paid by the Token
                                17   Holders who pre-purchased Tokens through the ITO, that Defendants were to hold
                                18   the Token investment proceeds in escrow and distribute the Token investment
                                19   proceeds pursuant to the White Paper’s terms and conditions, and that the Tokens
                                20   were freely transferrable on the Secondary Market. Perkins and Ness, therefore,
                                21   offered to hold the Token investment proceeds in escrow and distribute the Token
                                22   investment proceeds in accordance with the White Papers’ terms and conditions.
                                23   (“Perkins’ Offer”)
                                24         42.   The Token Holders accepted Perkins and Ness’s offer and the Token
                                25   Holders reposed their trust and confidence in Perkins and Ness to hold and
                                26   distribute the escrowed money in accordance with the White Paper’s terms and
                                27   conditions. (“Token Holders’ Acceptance”).
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                                      CLASS ACTION COMPLAINT
                                 Case 2:20-cv-00464-SAB       ECF No. 1   filed 12/16/20   PageID.12 Page 12 of 19



                                1          43.      Perkins and Ness owed the Token Holders a fiduciary duty to
                                2    distribute the Token investment proceeds in accordance with the White Paper’s
                                3    terms and conditions.
                                4          44.      Perkins and Ness breached their fiduciary duties to the Token Holders
                                5    by distributing the Token investment proceeds to one or more of the GW Entities
                                6    in a manner that was inconsistent with the White Paper’s terms and conditions.
                                7    They distributed all the Token investment proceeds to one or more of the GW
                                8    Entities prior to the Giga Watt Project being completed and not in proportion to
                                9    the Giga Watt Project’s completion.
                                10         45.       As a result of Perkins and Ness’s breach of their fiduciary duties to
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                                11   Plaintiff and the other members of the Class, they have been damaged in an amount
                                12   that exceeds $10 Million, plus prejudgment interest.
                                13                                        COUNT II
                                14             Breach of Express or Implied Agreement with the Token Holders
                                15                                    (Against Perkins)
                                16         46.      Plaintiff incorporates by reference and realleges the allegations
                                17   contained in Paragraphs 1-38 and 40-42 in this Complaint as though fully set forth
                                18   herein.
                                19         47.      One or more of the Perkins Defendants formed an expressed or
                                20   implied agreement with the Token Holders, including the Plaintiff and other
                                21   members of the Class, when it made the Perkins Offer and when the Token Holders
                                22   accepted the Perkins Offer when they gave the Token Holders’ Acceptance.
                                23   (“Perkins Agreement with the Token Holders”)
                                24         48.      Perkins reaffirmed and ratified its obligations under the Perkins
                                25   Agreement with the Token Holders when it freely and voluntarily accepted the
                                26   Token investment proceeds and placed the Token investment proceeds into a trust
                                27   account that was controlled by one or more of the Perkins Defendants.
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                                      CLASS ACTION COMPLAINT
                                 Case 2:20-cv-00464-SAB       ECF No. 1   filed 12/16/20   PageID.13 Page 13 of 19



                                1          49.   One or more of the Perkins Defendants breached the Perkins
                                2    Agreement with the Token Holders when they distributed all the Token investment
                                3    proceeds to one or more of the GW Entities prior to the GW Entities completing
                                4    the Giga Watt Project.
                                5          50.   As a result of one or more of the Perkins Defendant’s breach of the
                                6    Perkins Agreement with the Token Holders, including the Plaintiff and other
                                7    members of the Class, Plaintiffs and the other members of the Class have been
                                8    damaged in an amount that exceeds $10 Million, plus interest.
                                9                                         COUNT III
                                10     Breach of Agreements Perkins had with the GW Entities and Cryptonomos
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                                11                                   (Against Perkins)
                                12         51.   Plaintiff incorporates by reference and realleges Paragraphs 1-38 and
                                13   Paragraphs 40-42 as though fully set forth herein.
                                14         52.   One or more of the Perkins Defendants entered into one or more
                                15   agreements with one or more of the GW Entities and Cryptonomos that required
                                16   one or more of the Perkins Defendants to hold the Token investment proceeds in
                                17   escrow and to distribute the Token investment proceeds in accordance with the
                                18   White Paper’s terms and conditions (“Perkins’ Agreements with the GW Entities
                                19   and Cryptonomos”).
                                20         53.   The Perkins’ Agreements with the GW Entities and Cryptonomos
                                21   were intended to benefit not only the contracting parties, but also the Token
                                22   Holders, including Plaintiff and the other members of the Class.
                                23         54.   One or more of the Perkins Defendants breached the Perkins’
                                24   Agreements with the GW Entities and Cryptonomos when they distributed all the
                                25   Token investment proceeds to one or more of the GW Entities prior to the Giga
                                26   Watt Project being completed.
                                27         55.   As a result of one or more of the Perkins Defendants breaching the
                                28   Perkins’ Agreements with the GW Entities and Cryptonomos, Plaintiff and
 00141250
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                                      CLASS ACTION COMPLAINT
                                 Case 2:20-cv-00464-SAB      ECF No. 1    filed 12/16/20   PageID.14 Page 14 of 19



                                1    members of the Class, the intended third-party beneficiaries of those agreements,
                                2    have been damaged in an amount that exceeds $10 Million, plus prejudgment
                                3    interest.
                                4                                        COUNT IV
                                5            Defendants’ Violation of Washington’s Consumer Protection Act
                                6                                 (Against All Defendants)
                                7           56.   Plaintiff incorporates by reference and realleges Paragraphs 1-38, 40-
                                8    45, and 47-55 as if fully set forth herein.
                                9           57.   The Washington Consumer Protection Act (the “WCPA”), RCW
                                10   19.86.020, provides that, “Unfair methods of competition and unfair or deceptive
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                                11   acts or practices in the conduct of any trade or commerce are hereby declared
                                12   unlawful.”
                                13          58.   Perkins and Ness’s acts were controlled by Perkins Coie, LLP and its
                                14   policies and procedures that govern all the Perkins Defendants.
                                15          59.   Perkins and Ness engaged in unlawful, unfair, or deceptive acts or
                                16   practices through their conduct and the representations that Perkins and Ness
                                17   allowed the GW Entities to make on Perkins and Ness’s behalf in the White Paper,
                                18   the Cryptonomos website, and other ITO solicitation materials.
                                19          60.   Perkins and Ness facilitated and allowed the GW Entities and
                                20   Cryptonomos to solicit Token presales by representing that the Token investment
                                21   proceeds would be held in escrow by Ness and Perkins Coie, LLP and distributed
                                22   to the GW Entities only in the proportion that the GW Entities had completed the
                                23   Giga Watt Project.
                                24          61.   Perkins and Ness then received the Token investment proceeds and
                                25   held themselves out as holding the Token investment proceeds in escrow and that
                                26   they would distribute the Token investment proceeds in accordance with the
                                27   White Paper’s and the Cryptonomos website’s terms and conditions.
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                                      CLASS ACTION COMPLAINT
                                 Case 2:20-cv-00464-SAB     ECF No. 1    filed 12/16/20   PageID.15 Page 15 of 19



                                1         62.    Perkins and Ness then distributed the escrowed money inconsistent
                                2    with the White Paper’s and the Cryptonomos website’s terms and conditions and
                                3    began distributing the Token investment proceeds to one or more of the GW
                                4    Entities in a higher proportion than the Giga Watt Project had been completed.
                                5    Perkins and Ness continued to make distributions to one or more of the GW
                                6    Entities until all the Token investment proceeds had been distributed to one or
                                7    more of the GW Entities even though the Giga Watt Project was never completed.
                                8         63.    Perkins and Ness made no effort to notify the Token Holders that
                                9    Perkins and Ness were intending to distribute or were distributing the Token
                                10   investment proceeds in a manner that was inconsistent with the White Paper’s and
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                                11   Cryptonomos website’s terms and conditions.
                                12        64.    Perkins and Ness’s conduct, when considering the representations
                                13   they knew were made by the GW Entities and Cryptonomos, had the capacity to
                                14   deceive a substantial portion of the public because members of the public expect
                                15   and trust that attorneys and law firms that are regulated by a state bar association,
                                16   licensed to practice law, and exempt from registering as an escrow agent, will
                                17   only distribute monies that are entrusted to their care to be held in escrow will be
                                18   held and distributed in accordance with the applicable escrow instructions.
                                19        65.    Perkins’ and Ness’s unfair or deceptive acts occurred in the conduct
                                20   of trade or commerce (i.e., in connection with the marketing and presale of
                                21   investment opportunities and in holding and distributing the investment monies
                                22   that they have agreed to hold in escrow).
                                23        66.    Perkins’ and Ness’s unfair or deceptive acts and practices concerning
                                24   the marketing and presale of Tokens during the ITO and in holding and
                                25   distributing the Token investment proceeds adversely affected the public interest
                                26   because the public relies on lawyers and law firms, especially law firms like
                                27   Perkins Coie, LLP that have a reputation for being a long-time respected
                                28   institution; and attorneys like Ness, who is identified as a Perkins Coie, LLP
 00141250
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                                     CLASS ACTION COMPLAINT
                                 Case 2:20-cv-00464-SAB    ECF No. 1    filed 12/16/20   PageID.16 Page 16 of 19



                                1    partner with an advertised reputation for dealings in the cryptocurrency industry,
                                2    to act consistent with the fiduciary duties they undertake when acting as an escrow
                                3    agent, to-wit: to handle money that is placed in their capable hands in escrow to
                                4    distribute that money in accordance with the escrow instructions. The public’s
                                5    reliance is reasonable because law firms and lawyers are regulated by a state bar
                                6    association, they are licensed to practice law, and are exempt from escrow agent
                                7    registration and bonding requirements.
                                8         67.    Members of the public other than the Token Holders have the
                                9    capacity to be just as deceived and injured as the Plaintiff and other members of
                                10   the Class were in this case if Perkins and Ness act like they did toward the Token
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                                11   Holders.
                                12        68.    The Plaintiff and other members of the Class have been injured as a
                                13   direct and proximate result of Perkins’ and Ness’s violations of the WCPA.
                                14        69.    The Plaintiff and other members of the Class have suffered and
                                15   incurred actual compensatory damages in an amount that exceeds $10 Million,
                                16   plus interest that results directly and proximately from Perkins’ and Ness’s
                                17   WCPA violations.
                                18        70.    The Plaintiff and other members of the Class are “persons” as defined
                                19   in RCW 19.86.010.
                                20        71.    The Plaintiff and other members of the Class are entitled to remedy
                                21   Perkins and Ness’s WCPA violations.
                                22        72.    Plaintiff and the other members of the Class seek compensatory
                                23   damages, statutory damages, exemplary damages, interest, and attorney’s fees
                                24   and costs as well as all other appropriate legal and equitable relief and remedies
                                25   the WCPA allows.
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                                     CLASS ACTION COMPLAINT
                                 Case 2:20-cv-00464-SAB      ECF No. 1    filed 12/16/20   PageID.17 Page 17 of 19



                                1                                         COUNT V
                                2       Violation of Washington’s Escrow Agent Registration Act RCW 18.44 ch.
                                3                                 (Against All Defendants)
                                4          73.    Plaintiff incorporates by reference and realleges 1-38, 40-45, 47-55,
                                5    and 58-69 as if fully set forth herein.
                                6          74.    Each Perkins Defendant that was responsible for accepting the Token
                                7    investment proceeds (“Perkins Escrow Defendants”) and Ness were an “Escrow
                                8    Agent” as that term is defined in the Washington Escrow Agent Registration Act
                                9    (“WEARA”), RCW 18.44.011(8).
                                10         75.    Perkins and Ness all agreed the Token investment proceeds were to
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                                11   be held in “Escrow” as that term is defined in the WEARA, RCW 18.44.011(7) .
                                12         76.    Perkins and Ness knew the escrow instructions that controlled how
                                13   they were to handle the Token investment proceeds were the instructions in the
                                14   White Paper and on the Cryptonomos website.
                                15         77.    Ness and each Perkins Defendants that was not a Perkins Escrow
                                16   Defendant was a controlling person, officer, or designated officer for the Perkins
                                17   Escrow Defendants’ escrow business for this transaction, or other person subject
                                18   to the WEARA.
                                19         78.    RCW 18.44.301(2) prohibits Perkins and Ness from “[d]irectly or
                                20   indirectly engag[ing] in any unfair or deceptive practices toward any person.”
                                21         79.    For the reasons described in this Complaint, Perkins and Ness
                                22   engaged in unfair or deceptive practices toward Plaintiff and the other members
                                23   of the Class.
                                24         80.    Plaintiff and other members of the Class have suffered damages in an
                                25   amount that exceeds $10 Million, plus interest, that was directly and proximately
                                26   caused by the Perkins Escrow Defendants and Ness engaging in the unfair or
                                27   deceptive practices alleged in this Complaint that were prohibited by the
                                28   WEARA.
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                                      CLASS ACTION COMPLAINT
                                 Case 2:20-cv-00464-SAB      ECF No. 1    filed 12/16/20   PageID.18 Page 18 of 19



                                1                                 PRAYER FOR RELIEF
                                2           WHEREFORE, the Plaintiff prays for relief in interim orders and by way of
                                3    entry of final judgment in his favor, in favor of those he seeks to represent, and
                                4    against Defendants:
                                5           A.     Declaring that this action is a proper class action, certifying the Class
                                6    as requested herein, designating Plaintiff as the Class Representative, and
                                7    appointing the undersigned counsel as Class Counsel.
                                8           B.     Ordering Defendants to pay actual damages to Plaintiff and the Class
                                9    Members.
                                10          C.     Ordering Defendants to pay exemplary or punitive damages, as
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                                11   allowable by law, to Plaintiff and the Class Members.
                                12          D.     Ordering Defendants to pay statutory damages, as allowable by the
                                13   statutes asserted herein, to Plaintiff and the Class Members.
                                14          E.     Ordering Defendants to pay attorneys’ fees and litigation costs to
                                15   Plaintiff and the Class Members.
                                16          F.     Ordering Defendants to pay both pre- and post-judgment interest on
                                17   any amounts awarded.
                                18          G.     Ordering such other and further equitable, injunctive, or legal relief
                                19   as may be just and proper.
                                20                                JURY TRIAL DEMAND
                                21          Plaintiff demands a trial by jury for all the claims asserted in this Complaint
                                22   so triable.
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                                      CLASS ACTION COMPLAINT
                                 Case 2:20-cv-00464-SAB   ECF No. 1   filed 12/16/20   PageID.19 Page 19 of 19



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                                2                                        Respectfully submitted,
                                3    Dated: December 16, 2020            THE WESTERN WASHINGTON LAW
                                                                         GROUP, PLLP
                                4
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                                16                                       Attorneys for Plaintiff
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                                     CLASS ACTION COMPLAINT
